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 1   LAWRENCE R. BROWN
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 4   Telephone: (916) 554-2763
 5
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )            CR. No. 2:08-CR-212-LKK
                                   )
11                  Plaintiff,     )            Stipulation and Order re
                                   )            PSR Schedule
12        v.                       )
                                   )
13   DALANA IRENE VAUGHN,          )
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
16         Defense counsel is presently in an extended state court trial.
17   Accordingly, it is hereby stipulated by and between Assistant U.S.
18   Attorney Mary L. Grad and counsel for Dalana Vaughn Lorie Teichert,
19   that, to accommodate Ms. Teichert’s schedule, it is appropriate to
20   amend the briefing schedule relative to the presentence report as
21   follows:
22         Informal objections on or before February 17, 2009
23         Disclosure of the report on or before February 24, 2009
24         Formals objections to the report on or before March 3, 2009 and
25   ///
26   ///
27   ///
28   ///

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 1        Judgment and Sentencing on March 10, 2009 at 9:15 a.m.
 2
 3   DATED:     _____________________             ___/s/ Lorie Teichert___________
                                                  LORIE TEICHERT
 4                                                Attorney for Defendant
 5   DATED:     _____________________             LAWRENCE R. BROWN
                                                  Acting United States Attorney
 6
 7
                                            By:___/s/ Mary L. Grad____
 8                                             MARY L. GRAD
                                               Assistant U.S. Attorney
 9
10
11   SO ORDERED:
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13   DATED: February 2, 2009
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